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                                UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF MISSOURI
                                        EASTERN DIVISION


     In re:                                                             Chapter 11

     23ANDME HOLDING CO., et al., 1                                     Case No. 25-40976-357

                              Debtors.                                  (Jointly Administered)


        DEBTORS’ STATEMENT IN RESPONSE TO CERTAIN CUSTOMER FILINGS

         The above-captioned debtors and debtors in possession (collectively, the “Debtors”)
 remain steadfast in their commitment to be responsible stewards of their customers’ personally
 identifiable information 2 and genetic data (collectively, the “Customer Data”). As the Debtors
 stated on the record at the first day hearing and elsewhere, they have neither changed nor sought
 to modify their existing privacy statement (the “Privacy Statement”) and terms of service
 (the “Terms of Service,” and together with the Privacy Statement, the “Policies”) 3 as result of the
 commencement of these chapter 11 cases. The Debtors have and remain committed to providing
 customers and other stakeholders with transparency on how Customer Data is processed and stored
 throughout this process.

         The publicly available Privacy Statement provides that customers can delete their account
 at any time by accessing account settings from the user profile. As noted in the Privacy Statement,
 to the extent a customer previously consented to participating in research, the Debtors will
 automatically opt the customer out of any future research that begins more than 30 days after
 deletion of the customer’s account, and will discard any genetic sample the customer had asked
 the Debtors to store. Account deletion is permanent and cannot be cancelled, undone, withdrawn,
 or reversed.

         As permitted under applicable privacy laws, following a deletion request, the Debtors
 retain Customer Data in certain limited circumstances and as required by law. The Privacy
 Statement provides an overview of these legal requirements, which include obligations to retain
 certain information in compliance with the federal Clinical Laboratory Improvement Amendments

 1
       The Debtors in each of these cases, along with the last four digits of each Debtor’s federal tax identification
       number, are: 23andMe Holding Co. (0344), 23andMe, Inc. (7371), 23andMe Pharmacy Holdings, Inc. (4690),
       Lemonaid Community Pharmacy, Inc. (7330), Lemonaid Health, Inc. (6739), Lemonaid Pharmacy Holdings Inc.
       (6500), LPharm CS LLC (1125), LPharm INS LLC (9800), LPharm RX LLC (7746), LPRXOne LLC (3447),
       LPRXThree LLC (3852), and LPRXTwo LLC (1595). The Debtors’ service address for purposes of these chapter
       11 cases is: 870 Market Street, Room 415, San Francisco, CA 94102.
 2
       For the avoidance of doubt, “personally identifiable information” as used herein shall include “personal
       information” and “personal data” as defined under applicable laws.
 3
       The Privacy Statement and Terms of Service are publicly available on the Debtors’ website at
       https://23andme.com.
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 of 1988 (CLIA), California Business and Professions Code Section 1265, and College of American
 Pathologists (CAP) accreditation requirements. Other legal requirements include obligations to
 retain customer email addresses, account deletion request identifiers, and communications related
 to inquiries or complaints and legal agreements.

         The Debtors understand that certain customers have experienced delays in seeking to delete
 their accounts. The news of the Debtors’ chapter 11 cases caused an increase in traffic to the
 Debtors’ website and deletion requests, which made it difficult for some customers to access
 Debtors’ website, and which has also resulted in delays in the Debtors’ ability to provide customer
 care due to the increase in call volume.

         Upon becoming aware of these issues, the Debtors have worked diligently to resolve them
 and greatly appreciate customers’ patience while they do so. To be clear, the Debtors have not
 taken any actions to deliberately block any customer account or data deletion requests. On the
 contrary, the Debtors have taken various steps to remedy these issues and to optimize the Debtors’
 ability to process customers’ deletion requests. Among other things, the Debtors have:
 (a) deployed their engineering team to address the technical issues related to the Debtors’ website,
 (b) worked with the relevant external entities on email delivery issues, including by making
 updates to the automated control email send methods to improve delivery rates and times for
 deletion requests, (c) diverted additional resources to help address the increased volume of
 customer communications, and (d) increased the capacity of the Debtors’ call center infrastructure
 to handle a higher number of calls and increased the number of personnel hours worked to improve
 response times.

         The Debtors recognize the treatment of Customer Data is an issue of paramount importance
 to their customers, regulators, and other stakeholders. To that end, the Debtors reaffirm the
 following:

            a. Customer Data remains protected. The chapter 11 filing does not change how the
               Debtors store or process Customer Data.

            b. Customer access to data is unchanged. Customers continue to have full access to
               their account, genetic reports, and their stored data.

            c. The Debtors’ privacy policies will remain in place in connection with any proposed
               sale of the Debtors’ assets. Any buyer is required to comply with the Debtors’
               Policies and applicable law with respect to the treatment of Customer Data,
               including obtaining any required customer consents, in connection with any future
               changes to the Policies or how Customer Data is used.

            d. Any transaction is subject to court oversight. Any transaction involving the transfer
               of Customer Data will be subject to notice, oversight, and approval by the United
               States Bankruptcy Court for the Eastern District of Missouri. Additionally, any
               such transaction will be subject to customary regulatory approvals, including, as
               applicable, any required approvals under the Hart-Scott-Rodino Antitrust
               Improvements Act of 1976 and by the Committee on Foreign Investment in the
               United States.
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         The Debtors believe that the foregoing treatment of Customer Data, the continuation of
 their prepetition Policies during these chapter 11 cases, and the Debtors’ recent filing of their
 Motion to Appoint an Independent Customer Data Representative [Docket No. 169] reflect and
 effectuate their continued commitment to the appropriate treatment and protection of
 Customer Data.


 Dated: April 8, 2025                        Respectfully submitted,
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